
96 N.Y.2d 727 (2001)
CITY OF NEW YORK, by and on Behalf of the DEPARTMENT OF DESIGN AND CONSTRUCTION OF THE CITY OF NEW YORK, Respondent,
v.
CONSOLIDATED EDISON COMPANY OF NEW YORK, INC., Appellant.
Court of Appeals of the State of New York.
Submitted December 4, 2000.
Decided January 11, 2001.
On the Court's own motion, appeal dismissed, without costs, upon the ground that the order appealed from does not finally determine the action within the meaning of the Constitution. Motion for leave to appeal dismissed upon the ground that the order sought to be appealed from does not finally determine the action within the meaning of the Constitution.
